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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

SAMANTHA HEAD,                          )
    Plaintiff,                          )
                                        )
v.                                      )             CIVIL NO. 4:21-cv-00916-ERE
                                        )
KILOLO KIJAKAZI,                        )
Acting Commissioner of Social Security, )
ET AL,                                  )
       Defendants.                      )

                        MEMORANDUM OF LAW IN SUPPORT OF
                         DEFENDANT’S MOTION TO DISMISS

                               I. STATEMENT OF THE CASE

       On October 8, 2021, Plaintiff filed a Complaint seeking a writ of mandamus against

Defendant Social Security Administration (the Agency), and its employees, claiming that the

Agency and its employees had refused to schedule a hearing before an administrative law judge

(ALJ) in connection with her application for Disability Insurance Benefits under Title II of the

Social Security Act (the Act). See Complaint, Docket #2.

       The Agency files this Motion to Dismiss because mandamus jurisdiction is inapplicable:

the record shows that the Agency has followed and complied with all the applicable rules and

regulations. Furthermore, no right to declaratory judgment or damages exists in this case.

Plaintiff’s allegation that the Agency refused to schedule a hearing and that it violated her right

to due process is inaccurate and is not enough to support a finding in her favor.

                              II. STATEMENT OF THE FACTS

       On November 7, 2018, Plaintiff filed her application for a period of disability and

disability insurance benefits (DIB) under Title II of the Social Security Act (the Act). See

Attachment 1, pp. 1-2. The agency denied her claim on February 8, 2019. See Attachment 1, pp.

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3-5. The denial notice informed her that if she disagreed with the determination, she had 60 days

to appeal. See Attachment 1, p. 4. The notice also explained to her how to file a request for

reconsideration. See Attachment 1, p. 4. On February 10, 2019, Plaintiff initiated but did not

complete an electronic request for reconsideration. See Attachment 1, pp. 6-9.

       On December 20, 2019, Plaintiff filed another initial DIB application, which the Agency

deemed a Subsequent Application because of the abandoned appeal. See Attachment 1, pp. 10-

11, 14. The Agency therefore did not make a determination for this application. See Attachment

1, p. 14. Instead, in accordance with Program Operations Manual System (POMS) DI

12005.005, 1 the Agency contacted Plaintiff on February 11, 2020, about the incomplete request

for reconsideration and explained to her how to complete the appeal. See Attachment 1, p. 12.

       Plaintiff completed the request for reconsideration, and on October 21, 2020, the Agency

issued a notice of reconsideration denying Plaintiff’s claim. See Attachment 1, pp. 15-16.

Because Plaintiff’s claim had to be reopened, she had to submit a paper request for hearing,

which the Agency received on December 1, 2020. See Attachment 1, p. 19. Because the

COVID-19 Pandemic affected processing of paper documents, the Little Rock Hearing Office

received the request for hearing and accompanying file on or about November 2, 2021. See

Attachment 2, Declaration of Sherri Head, Hearing Office Director, Little Rock Hearing Office.

Hearing office procedure requires cases to be scheduled in chronological order based on the date



       1
          POMS sets forth the SSA’s official policies and procedures for carrying out its
responsibilities under the Social Security Act. While these policies and procedures do not have
the force of law and are not binding on the agency, Berger v. Apfel, 200 F.3d 1157, 1161 (8th
Cir. 2000), “the POMS are entitled to respect as publicly available operating instructions for
processing Social Security claims.” Reutter ex rel. Reutter v. Barnhart, 372 F.3d 946, 951 (8th
Cir. 2004). “As an interpretation of a regulation promulgated by the Commissioner, the POMS
control unless they are inconsistent with the regulation or plainly erroneous.” Rodysill v. Colvin,
745 F.3d 947, 950 (8th Cir. 2014).

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of the request for hearing. As of mid-November 2021, the Little Rock hearing office was

scheduling hearings with request dates from December 2020 for hearings in February and March

of 2022. On December 6, 2021, Plaintiff was scheduled for a hearing before an ALJ on January

10, 2022. See Attachment 1, pp. 23-27. Plaintiff waived her right to 75-day notice of hearing.

See Attachment 1, pp. 28.

       On January 10, 2022, Plaintiff and her attorney appeared at a telephone hearing before an

ALJ. Her claim has required no additional development. She is currently awaiting the ALJ’s

decision.

                                           III. ISSUES

Whether the Court Should Dismiss Plaintiff’s Request for a Writ of Mandamus.

Whether the Court Should Dismiss Plaintiff’s Due Process Claim.

                                        IV. ARGUMENT

A.     Standard of Review for Dismissal Under Fed. R. Civ. P. 12(b)(6)

       In considering a Federal Rules of Civil Procedure Rule 12(b)(6) motion to dismiss for

failure to state a claim upon which relief can be granted, the Court must accept all factual

allegations of the complaint to be true and determine whether the allegations contained within

the complaint show that the plaintiff is entitled to relief. Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 554–55 (2007). “Dismissal under Rule 12(b)(6) is appropriate if it is clear that no

relief can be granted under any set of facts that could be proven consistent with the allegations.”

O’Neal v. State Farm Fire & Cas. Co., 630 F.3d 1075, 1077 (8th Cir. 2011). A plaintiff’s

“factual allegations must be enough to raise a right to relief above the speculative level”, and

“the pleading must contain something more than a statement of facts that merely creates a

suspicion of a legally cognizable right of action.” Twombly, 550 U.S. at 555 (citation omitted).



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A plaintiff must state sufficient facts to “give the defendant fair notice of what the … claim is

and the grounds upon which it rests. Id. (citation omitted) (internal quotation marks omitted).

To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a plaintiff must “nudge her claims

across the line from conceivable to plausible” by pleading “enough facts to state a claim to relief

that is plausible on its face.” Twombly, 550 U.S. at 570. The complaint must state more than

“labels and conclusions” or a “formulaic recitation of the elements of a cause of action.”

Twombly, 550 U.S. at 555. Where the allegations show on the face of the complaint there is

some insuperable bar to relief, dismissal under Rule 12(b)(6) is appropriate. Benton v. Merrill

Lynch & Co., 524 F.3d 866, 870 (8th Cir. 2008) (internal citations omitted).

       In Ashcroft v. Iqbal, the Supreme Court amplified the pleading standards, noting that a

complaint “demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

556 U.S. at 678. “Nor does a complaint suffice if it tenders ‘naked assertions’ devoid of ‘further

factual enhancement.’” Id. (citing Twombly, supra). “Where a complaint pleads facts that are

merely consistent with a defendant’s liability, it stops short of the line between possibility and

plausibility of entitlement to relief.” Iqbal, 556 U.S. 678. “A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. “Dismissal is appropriate when the

complaint ‘on its face show[s] a bar to relief.’” Cutrer v. McMillan, 308 F. App’x 819, 820 (5th

Cir. 2009) (citing Clark v. Amoco Prod. Co., 794 F.2d 967, 970 (5th Cir. 1986)).

       When a defendant files a motion to dismiss for failure to state a claim upon which relief

can be granted, “[t]he court’s review is limited to the complaint, any documents attached to the

complaint, and any documents attached to the motion to dismiss that are central to the claim and




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referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d

383, 387 (5th Cir. 2010) (citation omitted).

B.     Mandamus Jurisdiction Pursuant to 28 U.S.C. § 1361

       Title 28 U.S.C. § 1361 confers “original jurisdiction of any action in the nature of

mandamus to compel an officer or employee of the United States to perform a duty owed to the

plaintiff.” The Eighth Circuit has found that section 205(g) may not preclude mandamus

jurisdiction under § 1361 in cases in which the claimant challenges the Agency’s procedures

unrelated to the merits of the claimant’s claim for benefits. Belles v. Schweiker, 720 F.2d 509

(8th Cir. 1983). “The test for jurisdiction is whether mandamus would be an appropriate means

of relief.” Jones v. Alexander, 609 F.2d 778, 781 (5th Cir. 1980) (citations omitted).

“Mandamus may issue under § 1361 against an officer of the United States only in extraordinary

situations and when the plaintiff can establish (1) ‘a clear and indisputable right to the relief

sought,’ (2) the state officer ‘has a nondiscretionary duty to honor that right,’ and (3) there is ‘no

other adequate remedy.’” Mitchael v. Colvin, 809 F.3d 1050, 1054 (8th Cir. 2016) (citation

omitted). “Failure to show any one of these prerequisites defeats a district court’s jurisdiction

under 28 U.S.C. § 1361.” National Association of Government Employees v. Federal Labor

Relations Authority, 830 F. Supp. 889, 898 (E.D. Va. 1993) (citing Cook v. Arentzen, 582 F2d

870, 876 (4th Cir. 1978)).

       Furthermore, the writ of mandamus “is intended to provide a remedy for a plaintiff only

if [she] has exhausted all other avenues of relief and only if the defendant owes [her] a clear

nondiscretionary duty.” Heckler v. Ringer, 466 U.S. 602, 616 (1984). Mandamus cannot be

used to compel the performance of discretionary duties of federal government officers;

mandamus will lie only to compel ministerial acts. Shoshone– Bannock Tribes v. Reno, 56 F.3d



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1476, 1480 (D.C. Cir. 1995); First Fed. Sav. & Loan Ass’n. v. Baker, 860 F.2d 135, 138 (4th

Cir.1988).

C.     Administrative Process for DIB Claims

       The Act and the Commissioner’s implementing regulations provide the procedural

framework for seeking administrative and judicial review of disability claims. Congress has

directed that the determination whether an individual is under a disability shall be made in the

first instance by a State agency, pursuant to regulations, guidelines, and performance standards

established by the Commissioner. See 42 U.S.C. § 421(a). If the State agency determines that

the claimant is not disabled, she may request a de novo reconsideration by the State agency. The

claimant is informed that she must request reconsideration within 60 days of her receipt of the

adverse initial determination. See 20 C.F.R. §§ 404.904, 404.909(a)(1).

       If the claimant is dissatisfied with the State agency’s reconsideration, she “shall be

entitled to a hearing thereon by the Commissioner of Social Security.” See 42 U.S.C. § 421(d).

The claimant may request a hearing before an ALJ. See 42 U.S.C. § 405(b)(1). If the ALJ’s

decision is adverse to the claimant, she then may seek review by the Appeals Council. See 20

C.F.R. §§ 404.955(a), 404.968(a)(1). It is only after the Appeals Council has denied review, or

has granted review and issued its own decision, that the Commissioner has rendered a “final

decision” on the claim for benefits, which then is subject to judicial review pursuant to 42 U.S.C.

§ 405(g).

D.     Plaintiff’s Request for Writ of Mandamus Should Be Dismissed

       Dismissal is appropriate in this case because Plaintiff’s allegations are insufficient to

establish a claim of mandamus relief. Mandamus jurisdiction is inapplicable because the record

shows the Agency has performed all duties under the applicable rules and regulations. Plaintiff

alleges that the Agency has violated her right to due process right by failing to issue a final
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decision in her claim. Plaintiff’s own inaction caused a thirteen-month delay in the processing of

her request for reconsideration, which she started on February 10, 2019, and completed over a

year later. This claim is currently active because the Agency contacted her and reopened it, even

though in the interim Plaintiff had filed a subsequent claim on December 20, 2019. This new

application suggests that she had not intended to pursue the appeal for the November 7, 2018

claim.

         Staffing limitations caused by the COVID-19 Pandemic and additional processing caused

by reopening Plaintiff’s claim resulted in the hearing office not receiving the request for hearing

promptly. 2 Since she filed the request for hearing, however, Plaintiff has experienced no delay

in the ultimate adjudication of her claim by an ALJ. Hearing office policy requires claims to be

scheduled for hearing based on that claim’s request for hearing date. Other claims with similar

request for hearing dates are set for hearings in February and March of 2022, well after

Plaintiff’s January 10, 2022 hearing date. See Attachment 2.

         Plaintiff claims that mandamus jurisdiction is appropriate because the Agency would not

offer her a hearing. “The fundamental requisite of due process of law is the opportunity to be

heard.” Goldberg v. Kelly, 397 U.S. 254 (1970). “It is an opportunity which must be granted at

a meaningful time and in a meaningful manner.” Armstrong v. Manzo, 380 U.S. 545, 552 (1965)

(internal citation omitted). The Agency scheduled a hearing for Plaintiff, which she attended, on

January 10, 2022. Plaintiff’s allegation that the Agency has refused to schedule a hearing is

therefore moot. Because the Agency has performed its nondiscretionary responsibilities in

processing Plaintiff’s claim, mandamus jurisdiction is not appropriate.




         2
         Since March 11, 2020, select Agency employees have been in the office to handle
paper documents on a limited basis.
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       Mandamus can only be to compel ministerial, or non-discretionary, acts. Shoshone–

Bannock Tribes, 56 F.3d at 1480; First Fed. Sav. & Loan Ass’n., 860 F.2d at 138. Plaintiff’s

unsupported allegation that the Agency refused to schedule a hearing with an ALJ is contrary to

the evidence. She cannot show the Agency failed to perform its non-discretionary duties in

scheduling her for an ALJ hearing. The Court should deny Plaintiff’s request for a mandamus to

compel an action that the Agency has already performed and dismiss Plaintiff’s Complaint.

E.     Plaintiff Has No Bivens Remedy for Alleged Due Process Violations

       Plaintiff’s Complaint is against the Commissioner as well as against Agency employees

in their official and individual capacities. By suing employees in their individual capacities for

allegedly violating her right to due process, she is seeking to impose liability on them, and she is

asking the Court to recognize a new constitutional remedy that is not available under Bivens v.

Six Unknown Fed. Narcotics Agents, 403 U.S. 388 (1971). The Supreme Court has “consistently

refused to extend Bivens liability in any new context.” Correctional Servs. Corp. v. Malesko,

534 U.S. 61, 68 (2001). Furthermore, Congress has precluded Bivens action in 42. U.S.C.

§ 405(h) of the Act, and special factors counsel hesitation by the Court in recognizing a new

Bivens remedy for constitutional claims.

       In Bivens, the Court held that the victim of an alleged Fourth Amendment violation could

bring suit to recover damages under 28 U.S.C. § 1331 where no apparent alternative remedies

and “no special factors counseling hesitation in the absence of affirmative action by Congress”

were present. Bivens, at 403. The Supreme Court has explicitly refused such remedies to claims

for Social Security benefits. Schweiker v. Chiliky, 487 U.S. 412 (1988). Furthermore, Congress

expressly denied any right to administrative and judicial review and precluded any actions on

any claims against employees of the Social Security Administration under 28 U.S.C. § 1331,



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Plaintiff’s Bivens action is expressly barred by the Act. Subsequent courts have also declined to

extend Bivens to alleged due process violations raised against the Agency. See, e.g., McKenna v.

Comm’r of Soc. Sec., 156 F.3d 1231 (6th Cir. 1998); Slabon v. Berryhill, 751 F. App’x 918 (7th

Cir. 2019); Ingram v. Comm’r of Soc. Sec., 401 F. App’x 234 (9th Cir. 2010); George v. Chater,

57 F.3d 1080 (10th Cir. 1995).

       As the Commissioner has shown above and through her supporting attachments, the

Agency has provided a hearing before an ALJ, which Plaintiff attended on January 10, 2022.

Thus, Plaintiff’s DIB claim is proceeding through the administrative process. Plaintiff’s

allegations of due process violation against the Agency or any of its employees are unsupported.

She is not entitled to any remedy under Bivens. Because Plaintiff’s Complaint is without merit,

the Court should deny Plaintiff’s mandamus request and dismiss her Complaint.




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                                      V. CONCLUSION

       The Court should dismiss Plaintiff’s Complaint because Plaintiff has failed to state a

claim upon which relief can be granted. The Agency has discharged its nondiscretionary

obligations, which include providing Plaintiff a hearing before an ALJ. Plaintiff’s mandamus

request is moot and the Court should dismiss Plaintiff’s Complaint.

                                             Respectfully submitted,

                                             JONATHAN D. ROSS
                                             United States Attorney
                                             Eastern District of Arkansas

                                             STACEY E. McCORD
                                             Assistant U.S. Attorney
                                             Eastern District of Arkansas

                                             CHRISTOPHER G. HARRIS
                                             Acting Regional Chief Counsel, Dallas

                                             EMILY CARROLL
                                             Special Assistant United States Attorney
                                             Texas Bar No. 24069476
                                             Social Security Administration
                                             Office of the General Counsel-Suite 350
                                             1301 Young Street, Mailroom 104
                                             Dallas, Texas 75202
                                             Phone: (214) 767-4635
                                             Fax: (214) 767-4117
                                             emily.carroll@ssa.gov




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